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Exhibit 21
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

ERIC SMITH and GUILLERMINA YANONG,

Plaintiffs, 05 C 0648

v. Judge Anderson
AMERIQUEST MORTGAGE COMPANY,
DEUTSCHE BANK NATIONAL TRUST and
AMC MORTGAGE SERVICES, INC.

Magistrate Judge Denlow

)
)
)
)
)
)
)
) JURY DEMANDED
)

Defendants.

AMENDED COMPLAINT

INTRODUCTION

1. Plaintiffs Eric Smith and Guillermina Yanong bring this action against a
“subprime” mortgage lender to rescind mortgages for violation of the Truth in Lending Act, 15
U.S.C. §1601 et seq. (“TILA”), and implementing Federal Reserve Board Regulation Z, 12 C.F.R.

part 226.

JURISDICTION AND VENUE

2. This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 (general
federal question), 1337 (interstate commerce), and 15 U.S.C. §1640 (Truth in Lending Act).

Defendant does business in the District and is deemed to reside here.

PARTIES
3. Plaintiffs own and reside in a home at 1844 South 60" Court, Cicero, Illinois.
4. Defendant Ameriquest Mortgage Company (“Ameriquest”) is a foreign

corporation which maintains offices in and does business in Illinois. Its registered agent and office
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are National Registered Agents, 200 W. Adams, Chicago, IL 60606. It is engaged in the business
of originating “subprime” mortgages and makes more than 26 loans per year.

5. Defendant Deutsche Bank National Trust Company (“Deutsche Bank’’) is a
foreign corporation with its headquarters at 60 Wall Street, New York, NY 10005. It does business
in [llinois. It is engaged in the business of buying “subprime” mortgage loans on Illinois properties.

6. Defendant AMC Mortgage Services, Inc. (“AMC”), is a Delaware
Corporation with its principal place of business in Orange, CA. It does business in Illinois. Its
registered agent and office are National Registered Agents, Inc., 200 West Adams Street, Chicago,
IL, 60606.

7. Defendants Ameriquest and AMC are corporate affiliates.

FACTS RELATING TO PLAINTIFFS

8. On February 20, 2002, plaintiffs obtained a mortgage loan from Ameriquest
secured by their home at 1844 South 60" Court, Cicero, Illinois.
9. Plaintiffs needed and used the loan proceeds for personal, family or
household purposes, namely, refinancing of prior debt incurred for such purposes.
10. The loan was closed on February 20, 2002.
11. On February 20, 2002, plaintiffs signed or received the following
documents relating to the loan:
a. Note, Exhibit A;
b. Mortgage, Exhibit B;
Cc. A Truth in Lending disclosure statement, Exhibit C;

d. Two different notices of right to cancel, Exhibits D and E;

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e. A settlement statement on form HUD-1A, Exhibit F.
12. Ownership of plaintiff’s loan was later transferred to defendant Deutsche
Bank. Deutsche Bank is the present holder of the loan.
13. | Defendant Ameriquest subsequently transferred servicing of plaintiffs loan
to defendant AMC. AMC is the present servicer of the loan.

RIGHT TO RESCIND

14. Because the transaction was secured by plaintiffs’ home, and was not entered
into for purposes of the initial acquisition or construction of that home, it was subject to the right
to cancel provided by 15 U.S.C. §1635 and 12 C.F.R. §226.23. Section 226.23 provides:

(a) Consumer's right to rescind.

(1) In a credit transaction in which a security interest is or will be
retained or acquired in a consumer's principal dwelling, each consumer
whose ownership interest is or will be subject to the security interest
shall have the right to rescind the transaction, except for transactions
described in paragraph (f) of this section.[fn]47

(2) To exercise the right to rescind, the consumer shall notify the
creditor of the rescission by mail, telegram or other means of written
communication. Notice is considered given when mailed, when filed for
telegraphic transmission or, if sent by other means, when delivered to
the creditor's designated place of business.

(3) The consumer may exercise the right to rescind until midnight of the
third business day following consummation, delivery of the notice
required by paragraph (b) of this section, or delivery of all material
disclosures,[fn]48 whichever occurs last. If the required notice or
material disclosures are not delivered, the right to rescind shall expire
3 years after consummation, upon transfer of all of the consumer's
interest in the property, or upon sale of the property, whichever occurs
first. In the case of certain administrative proceedings, the rescission
period shall be extended in accordance with section 125(f) of the Act. [15
U.S.C. §1635()]

(4) When more than one consumer in a transaction has the right to

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rescind, the exercise of the right by one consumer shall be effective as to
all consumers.

(b) Notice of right to rescind. In a transaction subject to rescission, a creditor
shall deliver 2 copies of the notice of the right to rescind to each consumer
entitled to rescind. The notice shall be on a separate document that identifies the
transaction and shall clearly and conspicuously disclose the following:

(1) The retention or acquisition of a security interest in the consumer's
principal dwelling.

(2) The consumer's right to rescind the transaction.

(3) How to exercise the right to rescind, with a form for that purpose,
designating the address of the creditor's place of business.

(4) The effects of rescission, as described in paragraph (d) of this section.

(5) The date the rescission period expires. . . .

(f) Exempt transactions. The right to rescind does not apply to the following:

15.

16.

(1) A residential mortgage transaction [defined in 15 U.S.C. §1602(w) as
one where a “security interest is created or retained against the
consumer's dwelling to finance the acquisition or initial construction of
such dwelling"].

(2) A credit plan in which a state agency is a creditor.

GROUND FOR RESCISSION

The payment schedule is not fully and completely disclosed on Exhibit D.

Exhibit F detracts from and obfuscates Exhibit E. Exhibit F suggests that the

consumer has seven days to rescind under TILA, which is not the case. The provision of an

ostensibly longer rescission period may cause a consumer to delay past the statutory three days,

without recognizing that the extended period is purely contractual, without benefit of TILA

damages, attorney’s fees, or the procedural protections of §1635. It also provides for a different

method of counting days and requires actual receipt of the notice by Ameriquest within the specified

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time.
17. 15 U.S.C. §1635(g) provides:
Additional relief
In any action in which it is determined that a creditor has violated this section,
in addition to rescission the court may award relief under section 1640 of this
title for violations of this subchapter not relating to the right to rescind.

VIOLATIONS ALLEGED

18. The failure to fully and completely disclose the payment schedule violates 15

U.S.C. §1638 and 12 C.F.R. §226.28.

19. The provision of inconsistent and confusing notices of right to cancel violates

15 U.S.C. §1635 and 12 C.F.R. §226.23.

WHEREFORE, plaintiffs request that the Court enter judgment in favor of plaintiffs

and against defendant for:

a. A judgment voiding plaintiffs’ mortgage, capable of recordation in

the public records, and binding on defendant;

b. Statutory damages for the underlying disclosure violation;

c. If appropriate, statutory damages for failure to rescind;

d. Attorney's fees, litigation expenses and costs.

€. Such other or further relief as the Court deems appropriate.

s/Daniel A. Edelman
Daniel A. Edelman

Daniel A. Edelman
Cathleen M. Combs
James O. Latturner
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Al Hofeld, Jr.

EDELMAN, COMBS, LATTURNER
& GOODWIN, LLC

120 S. LaSalle Street, 18th Floor

Chicago, Illinois 60603

(312) 739-4200

(312) 419-0379 (FAX)

JURY DEMAND

Plaintiffs demand trial by jury.

s/Daniel A, Edelman
Daniel A. Edelman

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EXHIBIT A
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Loan Number 0034678318 - 7301

ADJUSTABLE RATE NOTE
(LIBOR Index - Rate Caps)

THIS NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN MY INTEREST RATE AND MY MONTHL}
PAYMENT. THIS NOTE LIMITS THE AMOUNT MY INTEREST RATE CAN CHANGE AT ANY ONE TIME AND THE
MAXIMUM RATE I MUST PAY. THIS LOAN HAS A PREPAYMENT PENALTY PROVISION.

February 20, 2002 Orange California
Date} [City] {State}

1844 SOUTH 60TH COURT, CICERO, IL 60804
[Property Address}

1. BORROWER'S PROMISE TO PAY
in retum for a joan that | have received, | promise to pay U.S. § 161,100.00 (this amount Is called “principal"}, plu:
interest, to the order of the Lender. The Lender is Ameriquest Mortgage Company - -

J understand that the Lender may transfer this Note. The Lender or anyone who takes this Nate by transfer and who is
entitled to recelve payments under this Note is called the "Note Holder.”

2. INTEREST
interest will be charged on unpaid principal until the full amount of principal has been paid. | will pay interest al a
yearly rate of 6.999 %. This interest rate ! will pay may change in accordance with Section 4 of this Note. The interest
tale required by this Section 2 and Section 4 of this Nole is the rate [ will pay both before and efter any default

described In Section 7(B)} of this Note.

3. PAYMENTS -
(A) Time and Place of Payments
t will pay principal and interest by making payments every month.
1 will make my monthly payments on the first day of each month beginning on April 1, 2002. [| will mat
these payments every month until | have paid alf of the principal and interest and any other charges describe
below that | may owe under this Note. My monthly payments will be applied to Interest before principal. If, o
March 1, 2032, | still owe amounts under this Note, | will pay thase amounts in full on that date, which is calle

the “Maturity Date".
t will make my payments at; 505 South Main Street, STE. 6000 Orange, CA 92868

or at a different place if required by the Note Holder.

{B) Amount of My Initial Monthly Payments
Each of my inttial monthly payments will be in the amount of U.S. $ 1,071.70. This amount may change:
(C) Monthly Payment Changes
Changes Inrmy monthly payment will reflect changes in the unpaid principal of my joan and in the interest rate that ;
must pay. The Note Holder will determine my new Interest rate and the changed amount of my monthly payment ir

accordance with Section 4 of this Note.

4. INTEREST RATE AND MONTHLY PAYMENT CHANGES

{A) Change Dates
‘The interest rate | will pay may change on the first day of March, 2004 , and on that day every sixth month
thereafter. Each date on which my interest rate could change Is called a "Change Date."

(B) The Index _
Seginning with the first Change Date, my interest rate will be based on an index. The “Index" Is the average of
interbank offered rates for six-month U.S. dollar-denominaied deposits in the London market (‘LIBOR'), as
published in The Wall Street Journal. The most recent Index figure available as of the date 45 days before the
Change Date Is called the "Current index."
if at any point in time the index is no longer available, the Note Holder will choose a new index that is based upon
comparable information. The Note Holder will give me notice of this choice.

(C) Calculation of Changes
Before each Change Date, the Note Holder will calculate my new interest rate by adding five and one-half

percentage point(s} (5.500 %) to the Current Index. The Note Holder will then round the result of this addition to
the nearest one-elght of one percent (0.125%). Subject to the limits stated In Section 4(D}) below, this rounded
amount will be my new Interest rate until the next Change Date. The Note Holder will then determine the amount of
the monthly payment that would be sufficient to repay the unpald principal that | am expected to owe al the Change
Date in full on the Maturity Date at my new inlerest rate in substantially equal payments. The result of this

calculation will be the new amount of my monthly payment.

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| Loan Number: 0034678318 - 7301

{D) Limits on Interest Rate Changes
The interest rate | am required fo pay at the first Change Date will not be greater than 8.999 % or Jess than 6.99£

%. Theteafier, my interest rate will never be increased or decreased on any single Change Date by more than
one percentage point(s) (1.000 %) fram the rate of interest | have been paying for the preceding six months. My
interest rate will never be greater 12.999% or less than 6.999%

(E) Effective Date of Changes
My new interest rate will become effective on each Change Date. | will pay the amount of my new monthly

payment beginning on the first monthly payment date after the Change Dale until the amount of my monthly

payment changes again.
(F) Notice of Changes

The Note Holder will deliver or mail to me a notice of any changes in my interest rate and the amount of my

monthly payment before the effective date of any change. The notice will include Information required by law to

be given me and also the title and telephone number of a person who will answer any question | may have

regarding the notice.

(5) PREPAYMENT PRIVILEGE
| may prepay all or a portion of the principal balance of this Note in accordance with the terms of this Section. A

“prepayment” is any amount that | pay in excess of my requiarly scheduled payments of principal and interest that

the Lender will apply to reduce the outstanding principal balance on this Note in accordance with this Section.

(A) Prepayment Made Three (3) year(s) After the Date of this Note
if | make a prepayment commencing on or after the Three (3) year anniversary of the date of this Note, | may
make thal prepayment, in full or In part, without the imposition of a prepayment charge by the Lender.

(B) Prepayment Made Within Three (3) year(s) of the Date of this Note
| agree to pay Lender a prepayment charge if | make a prepayment before the Three (3) year(s) anniversary of
the date of this Note, whether voluntarily or involuntarily, and the aggregate amount of the prepayment | am
currently making, plus all prepayments made during the immediately preceding 12-month period, exceeds twenty
percent (20%) of the original principal balance of this Note. The arriount of the prepayment charge will equal six
(6) months interest, at the rate then in effect on this Note, based upon the aggregate amaunt of: (i) the principal
balance prepaid on this Note during that 42-month period; plus (ii) the principal balance prepaid as a result of
current prepayment.

(C) Application of Funds
{ agree that when [ Indicate in writing that | am making a voluntary prepayment, the Lender shall apply funds it
receives first to pay any prepayment charge and next in accordance with the order of application of payments set
forth in Sectlon 2 of the Security Instrument.

{D) Monthly Payments
if | make a prepayment of an ammount less than the amount needed fo completely repay all amounts due under

this Note and the Security Instrument, my regularly scheduled payments of principal and interest will not change
as a result.

6. LOAN CHARGES
If a law, which applies fo this loan and which sets maximum Ioan charges, is finally Interpreted so that the Interest or
other loan charges collected or to be collected in connection with this [oan exceed the permitted limits, then: 7) any
such foan charge shall be reduced by the amount necessary to reduce the charge fo the pennitted limit; and (il) any
sums already collected fram me which exceeded permitted limits will be refunded to me. The Note Holder may
choose to make this refund by reducing the principal | owe under this Note or by making a direct payrnent to me. Ifa
refund reduces the principal, the reduction will be treated as a partial prepayment

7. BORROWER'S FAILURE TO PAY AS REQUIRED
(A) Late Charges for Overdue Payments
if the Note Holder has not received the full amount of any monthly payment by the end of fifteen calendar days
afler the date it Is due, I wil pay a late charge to the Note Holder. The amount of the charge willbe 6.000 % of
my averdue payment of principal and interest I will pay this late charge prompily but only once on each late
payment. -

(B) Default ,
If | do not pay the full amount of each monthly payment on the date it ls due, | will be in default.

{C) Notice of Default
if | am in default, the Note Holder may send me a written nolice telling me that if | do not pay the overdue
amount by a certain date, the Note Holder may require me to pay immediately the full amount of principal which
has not been paid and all the Interest that | owe on that amount. The date must be at least 30 days after the
date on which the notice Is delivered or mailed to me.

(D) No Walver by Note Holder
Even if, at a time which | am In default, the Note Holder does not require me to pay immediately in full as

described above, the Note Holder will still have the right to da so if 1am in default at a later time.

(E} Payment of Note Holder's Costs and Expenses
ifthe Note Holder has required me to pay immediately In full as described above, the Note Holder will have the

right !o be paid back by me for alf of Its costs and expenses In enforcing this Note to the extent not prohibited by
applicable law. Those expenses include, for example, reasonabie attomeys’ fees.

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8.

9.

GIVING GF NOTICES

Untess applicabte law requires a different method, any notice thal must be given to me under this Note will be given
by delivering it or by mailing It by first class mail to me at the Property Address above or at a different address if |
give the Note Holder a natice of my different address

Any notice that must be given to the Note Holder under this Note will be given by mailing it by first class mail to the
Note Holder at the address stated in Section 3(A) above or at a different address if | am given notice of that different
address.

OBLIGATIONS OF PERSONS UNDER THIS NOTE

if more than one person signs this Note, each person is fully and personally obligated to keep all of the promises made
in this Note, including the prornise to pay the full amount owed. Any person who is a guarantor, surety or endorser of
this Note fs also obligated to do these things. Any person who fakes over these obligations, including the obligatians
of a guarantor, surety or endorser of this Note, is also obligated to keep all of the promises made In this Nole. The
Note Holder may enforce its rights under this Note against each person Individually or against all of us together. This
means that any one of us may be required to pay all of the arnounts owed under this Note

10. WAIVERS -

44.

12.

land any other person who has cbligalions under this Note waive the rights af presentment and notice of dishonor
“Presentment” means the right to require the Note Holder ta demand payment of amounts due. “Notice of Dishonor
means the right to require the Note Holder to give notice to other persons that amounts due have not been paid.

UNIFORM SECURED NOTE -
This Note Is a uniform instrument with limited variations in some jurisdictions. In addition, to the protections given to

fhe Nofe Holder under this Note, A Morigage, Deed of Trust or Security Deed (the “Security instrument"), dated the
same as this Nole, protects the Nofe Holder from possible losses which might result if { do not keep the promises tha
{ make In this Note. That the Security Instrument describes how and under what conditions | may be required ic
make Immediate payment In full of all amounts | owe under this Note. Same of those conditions are described as
follows:

Transfer of ihe Property or a Beneficial Interest in Borrower. if all or any part of the Property or any Interest in it is
sold or transferred (or if a beneficial Interest in Borrower is sold or transferred and Borrower Is not a natural person)
without the Lender's prior written consent, Lender may, at its option, require immediate payment in full of all sums
secured by this Security Instrument. However, this option shall not be exercised by Lender if exercise Is prohibited by
federal law as of the date of this Security instrument. Lender also shall not exercise this option if: (a) Borrower
causes lo be submitted to fender information required by Lender to evaluate the intended transferee as if a new loan
were being made to the transferee; and (b) Lender reasonable determines that Lender's security will not be impaired
by the loan assumption and that the risk of a breach of any covenant or agreement in ihis Security instrument is
acceptable fo Lender.

To the extent permitted by applicable flaw, Lender may charge a reasonable fee as a condition of Lender's
consent to the joan assumption. Lender may also require the transferee to sign an assumption agreement that is
acceptable to lender and that obligates the transferee to keep all the promises and agreements made in the Note and
in this Security instrument. Borrower will continue to be obligated under the Note and this Security Instrument unless
Lénder releases Borrower in writing.

If Lender exercises the option to require immediate payment in full, Lender shall give Borrower notice of
acceleration. The notice shall provide a period of not less then 30 days from the date the notice is delivered or mailed
within which the Borrower must pay all sums secured by this Security Instrument If Borrower fails to pay these surns
prior to the expiration of this period, Lender may Invoke any remedies permitted by this Security Instrument without
further notice or demand on Borrower.

GOVERNING LAW PROVISION

This Note and the related Securily interest are governed by the Altemative Mortgage Transaction Parity Act of 1982,
12 USC §3802 et seq., and, to the extend not inconsistent therewith, Federal and State law applicable to the
Jurisdiction of the Property.

Oral agreements, pramises or commitments to lend money, extend credit, or forebear from enforcing repayment

of

a debt, Including promises to extend, modify, renew or waive such debt, are not enforceable. This written

agreement contains all the terms the Borrower(s} and the Lender have agreed to. Any subsequent agreement
between us regarding this Note or the Instrument which secures this Note, must be in a signed writing to be
legally enforceable.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED. .

—
Cato 2 pb ef 4 Leal) (Seal)

BORROWER ‘J BYANONG * BORROWER

(Seal) (Seal)

BORROWER BORROWER

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EXHIBIT B
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|. 2

Return To:

Amexiquest Mortgage Company
p.O. Box 11507
Santa Ana, CA $2711 -

Prepared By:Amexiquest Mortgage Company

Sunita Balantrapu
4415 W. Harrison st., #
334,Hiliside, It 60162

{Space Above This Line For Recording Data]

MORTGAGE

DEFINITIONS

Words used in oraltiple sections of this document are defined below and other words are defined in
Sections 3, 11, £3, 18, 20 and 21, Certain rules regarding the usage of words used in this document are

also provided in Section 16.
(A) "Security Instrument" means this document, which is datedFebruary 20, 2602 1

together with all Riders to this document.
(8) "Borrower" is GUILLERMINA U YANGNG AND ERIC SMITH, AS JOINT TENANTS

Borrower is the mortgagor under this Security Instrument. -
(C) "Lender" is Ameriquest Mortgage Company

Lender isa Corporation
organized and existing under the laws of Delaware

0034678318

ILLINOIS - Single Family - Fannie Mae/Freddie Mec UNIFORM INSTRUMENT Form 3014 1/01

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VMP MORTGAGE FORMS ~ {BOOIS21-7 28%
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Lender's address is 1208 Town and Country Rd, Ste 200

Oxange, CA 92868

Lender is the mortgapee under this Security Instrument.

(D) "Nate" means the promissory note signed by Borrower and datedFebruary 20, 2002 .
The Note states that Borrower owes Lenderone hundred sixty-one thousand one hundred
and 00/100 ° Dollars
(U.S. $161,100.00 ) plus interest. Borrower has promised to pay this debt in regular Periodic
Payments and to pay the debt in full not later than March 1, 2032 . .

{E) "Property" means the property that is described below under the heading “Transfer of Rights in the
Property." .

(8) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and Jate charges
due under the Note, and all sams due under this Security Instrument, plus interest.

(G) "Riders" means all Riders 10 this Security Instrument that are executed by Borrower. The following
Riders are to be executed by Borrower {check box as applicable]:

(32) Adjustable Rate Rider [_] Condominium Rider {_] second Home Rider
[__] Balloon Rider {_] Planned Unit Development Rider [J] 1-4 Family Rider
[_] VA Rider {__] Biweekly Payment Rider L_] Other(s) [specify}

() "Applicable Law" means all controlling applicable federal, state and Jocal statutes, regulations,
ordinances and administrative rules aud orders (that have the effect of Jaw) as well as all applicable final, -
non-sppealable judicial opinions.

@) "Community Association Dues, Fees, and Assesemenis" means all dues, fees, assessments and other
charges. that are imposed on Borrower or the Property by a condominium association, homeowners
association or similar organization. .

Q) “Electronic Funds Transfer" means any transfer of funds, other than 2 transaction originated by
check, draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic
instrument, computer, or magnetic tape so es to order, instruct, or authorize a financial institution to debit
or credit an account, Such term includes, but is not limited to, point-of-sale transfers, automated teller
machine transactions, transfers initiated by telephone, wite transfers, and automated clearinghouse
transfers.

{K) "Escrow Items" means those iterns that are described in Section 3.

{L) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid
by any third party (other than insurance proceeds paid under the coverages described in Section 5) for: ()
damage to, or destruction of, the Property; (ii) conderanation or other taking of all or any part of the
Property; (iii) conveyance in lieu of condemnation; or Civ) misrepresentations of, or omissions as to, the
value and/or condition of the Property.

(WD "Mortgage Insurance" means insurance protecting Lender against the nonpeyment of, or default on,
the Loan.

(N) “Periodic Payment" means the regularly scheduled amount due for (3) principal and interest under the
Note, plus (ii) any amounts under Section 3 of this Security Instrument.

(O) “RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C, Section 2601 et seq.) and its
implementing regulation, Regulation X (24 C.R.R. Part 3500), as they might be amended from time to
time, or any additional or successor legislation or regulation that governs the same subject matter. As used
in this Security Instrument, “RESPA" refers to all requirements and restrictions that are imposed in regard
to a “federally related mortgage Ioan" even if the Loan does not qualify as a “federally related soortgage

Joan" under RESPA.
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(P) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or
not that party has assumed Borrower's obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and
modifications of the Note; and (ii) the performance of Borrower's covenants and agreements under
this Security Instrument and the Note. For this purpose, Borrower does hereby mortgage, grant and convey
to Lender and Lender's successors and assigns, the following described property located in the
County . [Type of Recording Jurisdiction]

of CooK [Name of Recording Jurisdiction}:

LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREDF:

Parcel ID Number: 16-20-324-033 which currently has the address of
1844 SOUTH 60TH COURT - {Socet]
CICERO [City], Ulinois 60804 {Zip Code}

("Property Address"):

TOGETHER WITH ali the improvements now or hereafter erected on the property, and all
easements, appurtenances, end fixtures now or hereafter a part of the property. All replacements and
additions shall also be covered by this Security Instrument. Ali of the foregoing is referred to in this
Security Instrument as the "Property."

BORROWER COVENANTS that Bortower is lawfully seised of the estate hereby conveyed and has
the right to mortgage, grant and convey the Property and that the Property is unencumbered, except for
encumbrances of record. Borrower warrants and will defend generally the title to the Property against all
claims and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines vaiform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
property.

UNIEORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and jnterest on, the debt evidenced by the Note and any
prepayment charges and jate charges due under the Note. Borrower shall also pay funds for Escrow Items
pursuant to Section 3. Payments due undet the Note and this Security Instrument shall be made in U.S.

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currency. However, if any check ox other instrument received by Lender as payment under the Note or this
Security Instrument is retamed to Lender unpaid, Leader may require that any or all subsequent payments
due under the Note and this Security Instrument be made in one or more of the following forms, as
selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or
cashier's check, provided any such check is drawn upon an institution whose deposits are insured by a
federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer. .

Payments are deemed received by Lender when received at the location designated in the Note or at
such other location as may be designated by Lender in accordance with the notice provisions In Section 15.
Lender may return any payment or partial payment if the payment or partial payments are insufficient to
bring the Lom current. Lender may accept any payment or partial payment insufficient to bring the Loan
current, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial
payments in the future, but Lender is not obligated to apply such payments at the time such payments are
accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender need not pay
interest on unapplied funds. Lender may hold such unapplied funds untii Borrower makes payment to bring
the Loan current. If Borrower does not do so within a reasonable period of time, Lender shall either apply
such funds or return them to Borrower. If not applied earlier, such funds will be applied tothe outstanding
principal balance under the Note immediately prior to foreclosure. No offset or claim which Borrower
mipht have now or in the future against Lender shall relieve Borrower from making payments due under
the Note and this Security Instrument or performing the covenants and agreements secured by this Security
Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all
payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
due under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments
shall be applied to each Periodic Payment in the order in which it became due. Any remaining amounts
shall be applied first to late charges, second to any other amounts due under this Security Instrument, and
then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and
the late charge. If more than one Pericdic Payment is outstanding, Lender may apply any payment received
from Borrower to the repayment of the Periedic Payments if, and to the extent that, each payment can be
paid in full. To the extent that any excess exists after the payment is applied to the full payment of one or
more Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments shall
be applied first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under
the Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due
under the Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts duc
for: (a) taxes and assessments and other items which can attain priority over this Security Instrument as a
lien or encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c)
premiums for amy and all insurance required by Lender under Section 5; and (4) Mortgage Insurance
premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of Mortgage
Insurance premiums in accordance with the provisions of Section 10. These items are called "Escrow
Jtems.” At origination or at any time during the term of the Loan, Lender may require that Community
Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and
assessments shall be an Escrow Jtem. Borrower shall promptly furnish to Lender all notices of amounts to
be paid under this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender waives
Borrower's obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's
obligation to pay to Lender Funds for any or ail Escrow Items at any time. Any such waiver may only be

in writing. In the event of such waiver, Borrower shall pay directly, when where payable, the amounts
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due for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires,
shall furnish to Lender receipts evidencing such payment within such time petiod as Lender may require.
Borrower's obligation to make such payments and to provide receipts shal! for all purposes be deemed to
be a covenant and agréement contained in this Security Instrument, as the phrase “covenant and agreement”
js used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and
Borrower fails to pay the amount due for an Escrow Item, Lender muy exercise its rights under Section 9
and pay sch amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
amount. Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in
atcordance with Section 15 and, upon suck revocation, Borrower shall pay to Lender all Funds, and in
such amounts, that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (1) sufficient to permit Lender to
apply the Funds at the time specified under RESPA. and (2) not to exceed the maximum amount a lender
can require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable
Law.

The Funds shall be held in an instimtion whose deposits are insured by a federal agency,
instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured) or in
any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time
specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually
analyzing the escrow account, OF verifying the Escrow Items, uoless Lender pays Borrower interest on the
Funds end Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing
or Applicable Law requires interest fo be paid on the Funds, Lender shall not be required to pay Borrower .
any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, thal interest
shall be paid on the Funds. Lender shatl give to Borcower, without charge, an annual accounting of the
Funds as required by RESPA.

If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to
Borrower for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow,
as defined under RESPA, Lender shail notify Borrower as required by RESPA, and Borrower shall pay to
Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than
twelve monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA,
Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the ammount
necessary to make up the deficiency in accordance with RESPA, but in no more than twelve monthly
payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund
to Borrower any Funds held by Lender.

4." Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
attributable to the Property which can attain priority over this Security Instrument, leasehold payments or
ground reots on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. Te
the extent that these iterns are Escrow Items, Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument uniess
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable
to Lender, but only so Jong as Borrower is performing such agreement; (b) contests the lien in good faith
by, or defends against enforcement of the lien in, Jegal proceedings which in Lender's opinion operate to
prevent the enforcement of the Ijen while those proceedings are pending, but only until such proceedings
are concluded: or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating
the lieh to this Security Instrument. If Lender determines that any part of the Property is subject to a lien
which can attain priority over this Security Instrument, Lender may give Borrower a notice identifying the

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lien. Within 10 days of the date on which that notice is given, Borrower shall satisfy the lien or take one or
more of the actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or
teporting service used by Lender tn connection with this Lozn. ‘

§. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on
the Property insured against Joss by fire, hazards included within the term “extended coverage,” and any
other hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance.
This insurance shal! be maintained in the amounts (including deductible levels) and for the periods that
Lender requires. What Lender requires pursuant to the preceding sentences can change during the term of
the Loan. The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's
right to disapprove Borrower's choice; which right shall not be exercised unreasonably. Lender may
require Borrower to pay, in connection with this Loan, either: (a) a one-time charge for ficed zone
determination, certification and tracking services; or (b) a one-time charge for flood zone determination
and certification services and subsequent charges each timé remeppings or similar changes occur which
Jeasonably might affect such determination or certification. Borrower shalf also be responsible for the
payment of any fees imposed by the Federal Emergency Management Agency in connection with the
review of any flood zone determination resulting from an objection by Borrower. :

If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
coverage, at Lender's option and Borrower's expense. Lender is under no obligation to purchase any
particular type or amount of coverage. Therefore, such coverage shai] cover Lender, but might or might
not protect Borrower, Borrower's equity in the Property, or the contents of the Property, against any risk,
hazard or liability and might provide greater or lesser coverage than wzs previously in effect. Borrower’
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Borrower cauld have obtained. Any amounts disbursed by Lender under this Section 5 shall
become additional debt of Borrower secured by this Security Instrument. These amounts shall bear interest
at the Note rate from the date of disbursement and shall be payable, with such interest, upon notice from -
Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender's
right to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as
mortgagee and/or as an additional loss payee. Lender shall have the right to hold the policies and renewal
certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by Lender,
for damage to, or destruction of, the Property, such policy shall include a standard mortgage clause and
shall name Lender as mortgagee and/or as an additional loss payee.

In the event of loss, Borrower shell give prompt notice to the insurance cartier and Lender. Lender
may make proof of loss if aot made promptly by Borrower. Unless Lender and Borrower otherwise agree
in writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, shall
be applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
Lender's security is not lessened. During such repair and testoration period, Lender shall have the right to
hold such insurance proceeds until Lender has bad an opportunity to inspect such Property to ensure the
work has been completed to Lender's satisfaction, provided that such inspection shill be undertaken
promptly. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series
of progress payments as the work is completed. Unless an agreement is made in writing or Applicable Law
requires interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such proceeds. Fees for public adjusters, or other third parties, retained by
Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower. If
the restoration or repair is not economically feasible or Lender's security would be lessened, the insurance
proceeds shal] be applied to the sums secured by this Security Instrument, whether or not then due, with

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the excess, if any, paid to Borrower. Such insurance proceeds shali be applied in the order provided for in
Section 2.

If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance
claim and related matters. If Borrower does not respond within 30 days to a notice from Lender that the
insurancé carrier hes offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day
period will begin when the notice is given. In either event, or if Lender acquires the Property under
Section 2Z or otherwise, Borrawer hereby assigns to Lender (a) Borrower's rights to any insurance
proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument, and
(b) any other of Borrower's rights (other than the right to any refund of unearned premiums paid by
Borrower) under all insurance policies covering the Property, insofar as such rights are applicable to the
coverage of the Property. Lender may use the insurance proceeds either to repair or restore the Property or
to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's priucipal
residence within 60 days after the execution of this Security Instrument and shall continue to occupy the
Property as Borrower's principal residence for at least one year after the date of occupancy, unless Lender
otherwise agrees in writing, which consent thal! not be unreasonably withheld, or unless extenuating
circumstances exist which are beyond Borrower's control.

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the
Property. Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in
order to prevent the Property from deteriorating or decreasing in value due to its condition. Unless it is
determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower shall
promptly repair the Property if damaged to avoid further deterioration or damage. If insurance or
condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower
shall bs responsible for repairing or restoring the Property only if Lender has released proceeds for such
purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in 2 series of
progress payments as the work is completed. If the insurance or condernnation proceeds are not sufficient
to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the completion of
such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property. Hf it has
reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.

8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application
process, Borrower or any persons oF entities acting at the direction of Borrower or with Borrower's
knowledge or consent gave materially false, misleading, or inaccurate information or statements to Lender
(or failed to provide Lender with oaterial information) in connection with the Loan. Materia!
representations include, but are not lirnited to, representations concerning Borrower's occupancy of the
Property as Borrower's principal residence.

9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. if
(2) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there
is a legal proceeding that might significantly affect Lender's interest in the Property and/or rights under
this Security Instrument (such as a proceeding in bankruptcy, probate, for candenination or forfeiture, for
enforcement of a lien which may attein priority over this Security Instrument or to enforce laws or
regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
reasonable or appropriate to protect Lender's jnterest in the Property and rights under this Security
Instrument, including protecting and/or assessing the value of the Property, and securing and/or repairing
the Property. Lender's actions can include, but are not limited to: (a) paying eny sums secured by 2 Hen
which has priority aver this Security Instrument; (b) appearing in court; and (c) paying reasonable

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attorneys’ fees to protect its interest in the Property and/or rights under this Security Instrument, including
its secured position in a banksuptcy proceeding. Securing the Property includes, but is not limited to,
entering the Property to make repairs, change locks, replace or board up doors and windows, drain water
from pipes, eliminate building or other code violations or dangerous conditions, and have utilities tumed
on or off. Although Lender may take action under this Section 9, Lender does not have to do so and is not
under any duty or obligation to do so. It is agreed that Lender incurs no liability for not taking any or all
actions authorized under this Section 9.

Any_amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
secured by this Security Instrument. These amounts shall bear interest at the Note rate from the date of
disbursement and shall be payable, with such interest, upon notice from Lender to Borrower Tequesting

ayment.
R If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the
lease. If Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless
Lender agrees to the merger in writing.

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason,
the Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer that
previously provided such insurance and Borrower was required 1o make separately designated payments
toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain
coverage substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially
equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate
mortgage insurer selected by Lender. If substantially equivalent Mortgage Insurance coverage is not
available, Borrower shall continue to pay to Lender the amount of the separately designated payments that
were due when the insurance coverage ceased to be in effect, Lender will accept, use and retain these
payments as a non-refundable loss reserve in lieu of Mortgage Insurance. Such Joss reserve shall be ©
non-refundable, notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be
required to pay Borrower any interest Gr earnings on such loss reserve, Lender can no longer require loss
reserve payments if Mortgage Insurance coverage (in the amount and for the period that Lender requires)
provided by an insurer selected by Lender again becomes available, is obtained, and Lender requires
separately designated payments toward the premioms for Mortgage Insurance. If Lender required Mortgage
Insurance as a condition of making the Loan and Borrower was required to make separately designated
payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to
maintain Mortgage Insurance in effect, or to provide 4 non-refundable joss reserve, until Lender's
requirement for Mortgage Insurance ends in accordance with any written agreement between Borrower and
Leader providing for such termination or until termination is required by Applicable Law. Nothing in this
Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it
may incur if Borrower does not repay the Loan as apreed. Borrower is not a party to the Mortgage
Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may
enter into agreements with other parties that share or modify their risk, or reduce losses. These agreements
are om terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to
these agreements. These agreements may require the mortgage insurer to make payments using any source
of funds that the mortgage insurer may have available (which may include funds obtained from Mortgage
Insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer,
any other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that
derive from (or might be characterized as) a portion of Borrower's payments for Mortgage Insurarice, in
exchange for sharing or modifying the mortgage insurer's risk, or reducing losses. If such agreement
provides that an affiliate of Lender takes a share of thé insurer's risk in exchange for a share of the
premiums paid to the insurer, the arrangement is often termed “captive reinsurance.” Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
Mortgage Insurance, or any other terms of the Loan. Such agreements will not increase fhe amount
Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to any refund.

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(b) Any such agreements will not affect the rights Borrower bas ~ if any - with respect fo the
Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights
may include the right to receive certain disclosures, to request and obtain cancellation of the
Mortgage Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a
refund of any Mortgage Insurance premiums that were unearned at the time of such cancelation or
termination.

11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellancous Procecds are hereby
assigned to and shall be paid to Lender.

Uf the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of
the Property, if the restoration or repair is economically feasible and Lender's security is not lessened.
During such repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds
until Lender bas had an opportunity to inspect such Property to ensure the work has been completed to
Lender's satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the
repairs and restoration in a single disbursement or in a series of progress payments zs the work is
completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on such
Miscellancous Proceeds, Lender shall not be required to pay Borrower any interest or earings on such
Miscellaneous Proceeds. If the restoration or repair is not economically feasible or Lender's security would
be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument,
whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be
applied in the order provided for in Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with
the excess, if any, paid to Horrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
value of the Property immediately before the partial teking, destruction, or loss in value is equal to or
greater than the amount of the sums secured by this Security Instrument immediately before the partial
taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums
secured by this Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds
multiplied ‘by the following fraction: {a) the total amount of the sums secured immediately before the
partial taking, destruction, or loss in value divided by (b) the fair market value of the Property
immediately before the partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Propesty in which the fair market
value of the Property immediately before the partial taking, destruction, or loss in value is Jess than the
amount of the sums secured immediately before the partial taking, destruction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums
secured by this Security Instrument whether or not the sums are then due,

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the
Opposing Party (as defined in the next sentence) offers to make an award to setile a claim for damages,
Borrower fails to respond to Lender within 30 days after the date the notice is given, Lender is authorized
to callect and apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the
sums secured by this Security Instrument, whether or not then due. “Opposing Party" means the third party
that owes Borrower Miscellancous Proceeds or the party against wham Borrower has a right of action in

regard to Miscellaneous Proceeds.
Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in

Lender's judgment, could result in forfeiture of the Property or other material impairment of Lender's
interest in the Property or rights under this Security Instrument. Borrower can cure such a default and, if
acceleration has occurred, reinstate as provided in Section 19, by causing the action or proceeding to be
dismissed with a ruling that, in Lender's judgment, precludes forfeiture of the Property or other material
impairment of Lender's interest in the Property or rights under this Security Instrument. The proceeds of
any award or claim for damages that are attributable to the inapairment of Lender's interest in the Property
are hereby assigned and shall be paid ta Lender.

Ali Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be
applied in the order provided for in Section 2. ~ .

12, Borrower Not Released; Forbearance By Lender Not 2 Waiver. Extension of the time for
payment or modification of amortization of the sums secured by this Security Instrument granted by Lender

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ta Borrower or any Successor in Interest of Borrower shall not operate to release the liability of Borrower
or any Successors in Interest of Borrower. Lender shall not be required to commence proceedings against
any Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify
amortization of the sums secured by this Security Instrument by reason of any demand made by the original
Borrower or any Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or
remedy including, without Limitation, Lender's acceptance of payments from third persons, entities or
Successors in Interest of Borrower or in amounts less than the amount then due, shall not be a waiver of or
preclude the exercise of any right or remedy.

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants
and agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who
co-sipns this Security Instrument but does not execute the Note (a “co-signer"): (2) is co-signing this
Security Instrument only to mortgage, grant and convey the co-signer's interest in the Property under the
terms of this Security Instrument; (b) is not personally obligated to pay the sums secured by this Security
Instrument; and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or
make any accommodations with regard to the terms of this Security Instrument or the Note without the
co-sigmer’s consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes
Borrower's obligations under this Security Instrument in writing, and is approved by Lender, shall obtain
ail of Borrower's rights and benefits under this Security Instrument. Borrower shall not be released from
Borrower's obligations and lability under this Security Instrument unless Lender agrees to such release in
writing. The covenants and agreements of this Security Instrument shall bind (except as provided in
Section 20) and benefit the successors and assigas of Lender.

14, Loan Charges: Lender may charge Borrower fees for services performed in connection with
Borrower's default, for the purpose of protecting Lender's interest in the Property and rights under this
Security Instrument, including, but not limited to, attorneys" fees, property inspection and valuation fees.
In regard to any other fees, the absence of express authority in this Security Instrument to charge a specific
fee to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not charge
fees that are expressly prohibited by this Security Instrument or by Applicable Law.

If the Loan is subject to alaw which sets maximum loan charges, and that law is finally interpreted so
that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
permitted limits, then: (a) any such Jom charge shall be reduced by the amount necessary to reduce the

Limits will be refunded to Borrower. Lender may choose to make this refund by reducing the principal
owed under the Note or by making a direct payment to Borrower. If a refund reduces principal, the
reduction will be treated as a partial prepayment without any prepayment charge (whether or not a
prepayment charge is provided for under the Note). Borrower's acceptance of any such refund made by
direct payment to Borrower will constitute a waiver of any right of action Borrower might have arising out

notify Lender of Borrower's change of address. If Lender specifies 2 proceduré for reporting Borrower's
change of address, then Borrower shall only report a change of address through that specified procedure.
There may be only one designated notice address under this Security Instrument at any one time. Any
notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's address
stated herein unless Lender has designated another address by notice to Borrower. Any notice in
connection with this Security Instrument shall not be deemed to have been given to Lender until actually
received by Lender. If any notice required by this Security Instrument is also required under Applicable
Law, the Applicable Law requirement will satisfy the corresponding requirement under this Security
Instrument. .

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16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be
govemed by federal law and the Jaw of the jurisdiction in which the Property is located. All rights and
obligations contained in this Security Instrument are subject to any requirements and Hmitations of
Applicable Law. Applicable Law might explicitly or implicitly allow the parties to agree by contract or it
might be silent, but such silence shall not be construed 2s a prohibition against agreement by contract. In
the event that any provision or clause of this Security Instrument or’ the Note conflicts with Applicable
Law, such conflict shal] not affect other provisions of this Security Instrument or the Note which can be
given effect without the conflicting provision. .

As used in this Security Instrument: (2) words of the masculine gender shail mean and include
corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
include the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to
take any action.

17. Borrower's Copy. Borrower shail be given one copy of the Note and of this Security Instrument.

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
"Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited
to, those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or
escraw agreement, the intent of which is the transfer of title by Borrower at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior
written consent, Lender may require immediate payment in full of all sums secured by this Security
Instrument. However, this option shall not be exercised by Lender if such exercise is prohibited by
Applicable Law..

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
within which Borrower mmst pay all sums secured by this Security Instrument. If Borrower fails to pay
these sums prior to the expiration of this period, Lender may invoke any remedies pemnitted by this
Security Instrament without further notice or demand on Borrower.

19.. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions;
Borrower shall have the right to have enforcement of this Security Instrument discontinued at any time
prior to the earliest of: (a) five days before sale of the Property pursuant to Section 22 of this Security
Instrument: (b) such other period as Applicable Law might specify for the termination of Borrower's right
to reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those conditions are that
Borrower: (a) pays Lender all sums which then would be due under this Security Instrument and the Note
as if no acceleration had occurred; (b} cures any default pf any other covenants or apreements; (c} pays all
expenses incurred in enforcing this Security Instrument, including, but not limited to, reasonable attorneys‘
fees, property inspection and valuation fees, and other fees incurred for the purpose of protecting Lender's
interest in the Property and rights under this Seeurity Instrument; and (@) takes such action as Lender may
reasonably require to assure that Lender's interest in the Property and rights under this Security
Instrument, and Borrower's obligation to pay the sums secured by this Security Instrument, shall continue
unchanged unless as otherwise provided under Applicable Law. Lender may require that Borrower pay
such teinstatement sums and expenses in one or more of the following forms, as selected by Lender: (@)
cash; (b} money order; (c) certified check, pank check, treasurer's check or cashier's check, provided any
such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality or
entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and
obligations secured hereby shall remain fully effective as if no acceleration had occurred. However, this
right to reinstate shall not apply in the case of acceleration under Section 18.

20.' Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in
the Note (logether with this Security Instrument) can be sold one or more times without prior notice to
Borrower. A sale might result in a change in the entity (mown as the “Loan Servicer") thal collects
Periodic Payments due under the Note and this Security Instrument and performs other mortgage loan
servicing obligations under the Note, this Security [astrument, and Applicable Law. There also might be
one or more changes of the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan
Servicer, Borrower will be given written notice of the change which will state the name and address of the
new Loan Servicer, the address to which payments should be made and any other information RESPA

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requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter the Loan is
serviced by a Loan Servicer other than the purchaser of the Note, the mortgage Joan servicing obligations
to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
assumed by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action {as either an
individual litigant or the member of a class) that arises from the other party's actions pursuant to this
Security Instrument or that alleges that the other party has breached any provision of, or any duty owed by
reason of, this Security Instrument, until such Borrower or Lender has notified the other party (with such
notice given in compliance with the requirements of Section 15) of such alleged breach and afforded the
other party hereto a reasonable period after the giving of such notice to take corrective action. If
Applicable Law provides a time period which must elapse before certain action can be taken, that time
period will be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and
opportunity to cure given to Borrower pursuant to Section 22 and the notice of acceleration given to
Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
action provisions of this Section 20.

21. Hazardous Substances, As used in this Section 21: (a) *Hazardous Substances" sre those
substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the
following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides
and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials;
(b) “Environmental Lew" ‘means federal Jaws and laws of the jurisdiction where the Property is located that
relate to health, safety or environmental protection; (c) "Environmental Cleanup” includes any respouse
action, remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental
Conditiqn", means a condition that ‘can cause, contribute to, or otherwise trigger an Environmental
Cleanup.

Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shalt not do,
nor allow anyone else to do, anything affecting the Property (2) that is in violation of any Environmental
Law, (b) which creates an Environmental Condition, or (c) which, due to the presence, use, or release of a
Hazardous Substance, creates a condition that adversely affects the value of the Property. The preceding
two sentences shali not apply to the presence, use, or storage on the Property of small quantities of
Hazardous Substances that are generally recognized to be appropriate to normal residential uses and to
maintenance of the Property (including,-but not limited to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit
or other action by any governmental or regulatory agency or private party involving the Property and any
Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any
Environmental Condition, including but not limited to, any spilling, leaking, discharge, reléase or threat of
release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
Hazardous Substance which adversely affects the value of the Property. If Borrower learns, or is notified
by any governmental or regulatory authority, or any private party, that any removal or other remediation
of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on

Lender for an Environmental Cleanup.

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NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

22, Acceleration; Remedies, Lender shall give notice to Borrower prior to acceleration following
Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to
acceleration under Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a)
the default; (b) the action required to cure the default; (c) a date, not less than 30 days from the date
the notice fs given to Borrower, by which the default must be cured; and (d) that failure fo cure the
default on or before the date specified in the notice may resuit in acceleration of the sums secured by
this Security Instrument, foreclosure by judicial proceeding and sale of the Property. The notice shall
further inform Borrower of the right to reinstate after acceleration and the right to assert in the
foreclosure proceeding the non-existence of a default or any other defense of Borrower to acceleration
and foreclosure. If the default is not cured on or before the date specified in the notice, Lender at its
option may require immediate payment in full of all sums secured by this Security Instrument
without further demand and may foreclose this Security Instrument by judicial proceeding. Lender
shall be entitled to collect all expenses incurred in pursuing the remedies provided in this Section 22
including, but not limited to, reasonable attorneys’ fees and costs of title evidence. :

43. Release. Upon payment of ell sums secured by this Security Instrument, Lender shall release this
Sectrity Instrument. Borrower shall pay any recordation costs. Lender may charge Borrower a fee for
releasing this Security Instrument, but only if the fee is paid to a third party for services rendered and the
charging of the fee is permitted under Applicable Law.

24. Waiver of Homestead. In accordance with Mlinois law, the Borrower hereby releases and waives
all rights under and by virtue of the Dlinois homestead exemption laws.

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BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this

Security Instrument and in any Rider executed by Horrower and recorded with it.

Witnesses:

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ERic. SmMetH -Borrower

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-Boyyower -Borrower
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ADJUSTABLE RATE RIDER
{LIBOR Six-Month-index (As Published In the Wall Street Journal)- Rate Caps)

THIS ADJUSTABLE RATE RIDER fs made this 20th day of Febmary , 2002 and Is
Incorporated Into and shall be deemed to amend and supplement the Morigage, Deed of Trust or
Security Deed (the "Security Instrument’) of the same date given by the undersigned (the
"Borrower"} to secure Borrowers Adjustable Rate Note {the “Note") ta Ameriquest Mortgage
Company {the “Lender*)-of the same date and covering the properly described in the Security
instrument and located at:

1844 SOUTH S0TH COURT, CICERO, iL 60804
[Property Address]

THE NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN THE
INTEREST RATE AND THE MONTHLY PAYMENT. THE NOTE LIMITS THE
AMOUNT THE BORROWER'S INTEREST RATE CAN CHANGE AT ANY ONE
TIME AND THE MAXIMUM RATE THE BORROWER MUST PAY.

ADDITIONAL COVENANTS. In addition fo the covenants and agreéments made in the
Security Instrument, Borrower and Lender further covenant and agree as follows:

A. INTEREST RATE AND MONTHLY PAYMENT CHANGES
The Nate provides for an initial interest rate of 6.999 %. The Note provides for changes In the

interest rale and the monthly payments, as foliows:

4. INTEREST RATE AND MONTHLY PAYMENT CHANGES

(4) Change Dates
The Interest rate | will pay may change on the first day of March, 2004 , and on that day every

th month thereafter. Each date on which my interest rate could change Is called a "Change
ale.”

(B) The index
Beginning with the first Change Date, my interest rate will be based on an Index. The “index” is

the average of interbank offeréd rates for six-month U.S. dollar-denominated deposits in the
London market (LIBOR"}, as published in the Wall Street Joumal. The most recent Index figure
available as of the date 45 days before each Change Date Is called the "Current index."

if the Index is no flanger available, the Note Holder will choose a new Index which Is based

upon comparable information. The Note Holder will give me notice of this choice. 4 /
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(C} Calculation of Changes

Before each Change Date, the Note Holder will calculale my new interest rale by adding
five and one-half percentage points ( 5.500 %) to the Current index. The Note Holder will then
round the result of this addition to the nearest one-eighth of one Percentage point (0.125%).
Subject to the limits stated in Section 4(D) below, this rounded amount wil! be my new interest

rate until the next Change Date.

The Noté Holder will then determine the amount of the manthly payment that would be
sufficient to repay the unpaid principal thal { am expected to owe at the Change Date in full on
the maturity date at my new interest rate in substantially equal payments. The result of this
calculation will be the new amount of my monthly payment.

{D) Limits on Interest Rate Changes
The interest rate | am required to pay at the first Change Date will not be greater than 8.999% or
less than 6.999%. Thereafter, my interest rate will never be Increased or decreased on any
single Change Date by more than one( 1.000 %) from the rate of interest | have been paying for
the preceding six months. My Interest rate will never be greater than 12.999% or less than
3%.

(E) Effective Date of Changes
My new Interest rate will become effective on each Change Date. ! will pay the amount of my
hew monthly payment beginning on the first monthly payment dafe after the Change Date unfit

the amount of my monthly payment changes again.

i Notice of Changes

The Note Holder will deliver or mail to me a notice of any changes in my interest rate and the
amount of my monthly payment before the effective date of any change. The notice will include
information required by law to be given me and also the title and telephone number of a person

who will answer any question | may have regarding the natice.

B. TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER
Section 18 of the Security instrument is amended fo read as follows:

Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section
18, "Interest in the Property” means any lege! or beneficial interest In the Property, including,
but not limited to, those beneficial Interests transferred in a bond for deed, contract for deed,
Installment sales contract or escrow agreement, the intent of which fs the transfer of title by
Borrower at a future dale to a purchaser.

Loan Number: 0034678318 - 7301

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if alt or any part of the Property or any Interest In the Property Is sold or transferred (or if
Borrower is not a natural person and a beneficial interest in Borrower Is sold or transferred)
without Lender's prior written consent, Lender may require immediate payment in full of all sums
secured by this Security Instrument. However, thls option shall not be exercised by Lender if
such exercise fs prohibited by federal law. Lender aiso shall not exercise this option if: (a)
Borrower causes fo be submitted to Lender information required by Lender to evaluate the
intended transferee as if a new loan were belng made to the transferee; and (b) Lender
reasonably determines that Lender's security will nat be impaired by the loan assumption and
that the risk of a breach of any covenant or agreement in this Security instrument fs acceptable
‘o Lender.

To the extent permitted by Applicable Law, Lender may charge a reasonable fee as a
condition to Lender's consent to the loan assumption, Lender may also require the transferee to
sign an assumption agreement that is acceptable to Lender and that obligates the transferee to
keep all the promises and agreements made in the Note and in this Securily Instrument.
Borrower will continue to be obligated under the Note and this Security Instrument unless Lender
releases Borrower in writing. If Lender exercises the option to require immediate payment in full,
Lender shall give Borrower notice of acceleration. The notice shall provide a period of not less
than 30 days from the date the notice is given in accordance with Section 15 within which
Borrower must pay all sums secured by thls Security instrument. If Borrower fails to pay these
sums prior to the expiration of this periad, Lender may Invoke any remedies permitted by this
Security instrurnent without further notice or demand on Borrower.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in
this Adjustable Rate Rider.

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Borrower go WYANONG Borrower ERIZ SMITH

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Borrower Borrower

Loan Number: 0034678318 - 7301

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EXHIBIT C
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| TRUTH-IN-LENDING DISCLOSURE STATEMENT
(THIS [S NEITHER A CONTRACT NOR A COMMITMENT TO LEND)

[_] Preliminary Final
LENDER: Ameriquest Morigage Company .
4415 W. Harrison St., #334
Hillside, IL 60162 .
(708)449-7073

Borrowers:GUILLERMINA U YANONG
Type of Loan: ADJUSTABLE RATE

Date: February 20, 2002

Address: 1844 SOUTH 60TH COURT
City/Stale/Zip: CICERO,IL 60864 Loan Number. 0034678318 - 7301

Property: 1844 SOUTH 60TH COURT, CICERO, IL 60804

ANNUAL FINANCE CHARGE
PERCENTAGE RATE Amount Financed Total of Payments
The cost of your credit as a yearly | The dollar amount the credit wil | The amount of credit provided to | The amount you will have paid softer
rate. cost you, you or on your behalf. you fuve made all payments as
7.900 % $ 250,007.26 § 183,460.43 $ 403,467.69
YOUR PAYMENT SCHEDULE WILL BE: -
NUMBER OF AMOUNT OF PAYMENTS ARE DUE NUMBER OF AMOUNT OF PAYMENTS ARE DUE
PAYMENTS PAYMENTS BEGINNING PAYMENTS PAYMENTS BEGINNING
24 $1,071.70 04/01/2002
335 $1,124.25 04/01/2004
1 $1,123.14 03/01/2032

VARIABLE RATE FEATURE:

SECURITY: You are giving a security Interest In the property located ak 1844 SOUTH 50TH COURT, CICERO, IL_60804
ASSUMPTION { x } cannot assume the remaining balance due under orginal lenns.
= Somdone buying this property ft] may assume. subject to fender's conditions. the remaining balance due under original
erm.

PROPERTY INSURANCE: You may obtaln property Insurance from anyone you want that is acceptable to

Ameriquest Mortgage Company

LATE CHARGES: fa paymentis tate, you willbe charged 6.000% of the overdue payment .

PREPAYMENT: Ifyou pay off your loan early, you

may C] wil not’ have fo pay a penalty.

See your contract documents for any additional information regarding non-payment, default, required repayment In full before the scheduled
date, and prepayment refunds and penalties.

UWe hereby acknowledge reading and receiving a complete copy of this disclosure.

a [2Ap L

Borrower GUILLERMINA YANONG 77” Dats Borower ERAC SMITH

Es Ate Zr0for—

é 7 Dale

. Dale Borrower Date
Borrower Copy

Borrower

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EXHIBIT D
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° NOTICE OF RIGHT TO CANCEL

LENDER: Ameriquest Mortgage Company DATE: February 20, 2002
LOAN NO.: 0034678318 - 7301

TYPE: ADJUSTABLE RATE
BORROWER(S): GUILLERMINA U YANONG

ADDRESS: 4844 SOUTH 60TH COURT
CITVISTATE/ZIP: CICERO,IL 60804

PROPERTY: 1844 SOUTH 60TH COURT
CICERO, IL 60804

You are entering into a transaction that will result in a mortgagedien/security interest on your home. You have a legal
right under federal law to cancel this transaction, without cost, within THREE BUSINESS DAYS from whichever of the

following events occurs last:

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1. The date of the transaction, which Is :or

2. The date you received your Truth in Lending disclosures; or
3. The date you received this notice of your right to cancel.

If you cancel the transaction, the mortgage/lien/security interest is also cancelled. Within 20 CALENDAR DAYS after we
receive your natice, we must take the steps necessary to reflect the fact that the morigagellien/security interest on your
home has been cancelled, and we must return to you any money or properly you have given to us or anyone else in

connection with this transaction.

You may keep any money or property we have given you until we have done the things mentioned above, but you must
then offer to return the money or property. If it is impractical or unfair for you to retum the property you must offer its
reasonable value. You may offer to return the property at your home or at the location of the property. Money must be
returned to the address below. If we do nof fake possession of the money or property within 20 CALENDAR DAYS of your
offer, you may keep it without further obligation.

HOW TO CANCEL
If you decide to cancel this transaction, you may do so by notifying us In writing, at:

Ameriquest Morigage Company ATTN: FUNDING
1100 Town and Country Rd, Suite 200 PHONE: (714) 541-9960
Orange, California 92868 FAX: {714) 245-0857

‘You may use any written statement that is signed and dated by you and states your intention to cancel, or you may use
this notice by dating and signing below. Keep one copy of this notice because i contains Important information about

your fights. ~ .

If you cancel by mall or telegram, you must
send the notice no fater than MIDNIGHT of

a
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(or MIDNIGHT of the THIRD BUSINESS DAY following the latest of the three events listed above). If you send or deliver
your written notice fo cancel some other way, it must be delivered to the above address no later than that time.

| WISH TO CANCEL

SIGNATURE DATE

The undersigned each acknowledge recelpt of two coples of this NOTICE OF RIGHT TO CANCEL and one copy of the
Federal Truth in Lending Disclosure Staternent, all given by lender in compliance with Truth in Lending Simplification and

Reform Act of 1980 (Public Law 96-221).

Each borrower in this transaction has the right to cancel. The exercise of this right by one borrower shail be Lees
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BORROWER/OWN i U YANONG / T Date BORROWER/OWNER = RIC SM A. i ny

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BORROWER/OWNER Date BORROWER/OWNER © . , — Bate

JNG4-NRC (Rev 6/99} LENDER COPY
Case: 1:05-cv-07097 Document #: 84-22 Filed: 03/16/06 Page 34 of 41 PagelD #:2020
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|

NOTICE OF RIGHT TO CANCEL

LENDER; Ameriquest Mortgage Company DATE: February 20, 2002
LOAN NO.: 0034678378 - 7301

TYPE: ADJUSTABLE RATE
BORROWER(S): GUILLERMINA U YANONG

ADDRESS: 1844 SOUTH 60TH COURT
CITYISTATEI/ZIP: CICERO,IL 60804 -

PROPERTY: 1844 SOUTH 60TH COURT -
CICERO, IL 60804

You are entering Into a transaction that will result in a morlgage/lien/security interest on your home. You have a legal
right under federal law fo cancel this transaction, without cost, within THREE BUSINESS DAYS from whichever of the

following events occurs last:

1. The date of the transaction, which Is ,or

2. The date you received your Truth in Lending disclosures; or
3. The data you received this notice of your right to cancel.

lf you cancel the transaction, the mortgage/lien/security interest Is also cancelled. Within 20 CALENDAR DAYS afier we
teceive your notice, we must take the steps necessary fo reflect the fact that the mortgage/lien/security Interest on your
home has been cancelled, and we must return to you any money or property you have given to us or anyone else in
connection with this transaction.

You may keep any money or property we have given you until we have done the things mentioned above, but you must
then offer to return the money or property. if 8 Is impractical or unfair for you to retum the property you must offer its
reasonable value. You may offer to return the property at your home or at the location of the property. Money must be
retumed {fo the address below. If we do not take possession of the money or property within 20 CALENDAR DAYS of your

offer, you may keep it without further obligation.

-

HOW TO CANCEL

¥ you decide to cancel this transaction, you may do so by notifying us in writing, at:
Ameriquest Mortgage Company ATIN: FUNDING
1100 Town and Country Rd, Suite 200 PHONE; (774} 541-9960
Orange, California 92868 FAX: ~ (714) 245-0857

You may use any written statement that is signed and dated by you and states your intention to cancel, or you may use
this notice by dating and signing below. Keep one copy of this notice because it contains important information about

your rights.

{f you cancel by mail or telegram, you must _ Sa ted
send the notice no later than MIDNIGHT of 2 | 223 [2 0D 2.

(or MIDNIGHT of the THIRD BUSINESS DAY following the latest of the three events fisted above). if you send or deliver
your wrilfen notice fo cancel some other way, it must be delivered to the above address no later than that time

[WISH TO CANCEL

SIGNATURE — DATE

The undersigned each acknowledge recelpt of two coples of this NOTICE OF RIGHT TO CANCEL and one copy of the
Federal Truth in Lending Disclosure Statement, all given by lender in compliance with Truth In Lending Simplification and

Reform Act of 1980 (Public Law 96-221).

Each borrower In this transaction has the right fo cancel. The exercise of this right by one borrower shall be effective to all borrowers.

O2fpehr- ©. AF 2a/y

P'Dite — BORROWEROWNER” EE Ric SM ity 7 Date

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BORROWERVOWNER Dale BORROWEAVOWNER Date

TOSEHENE (ner 29) BORROWER COPY
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NOTICE OF RIGHT TO CANCEL

LENDER: Ameriquest Morigage Company DATE: February 20, 2002
LOAN NO.: 0034678318 - 7301
TYPE: ADJUSTABLE RATE

BORROWER(S): GUILLERMINA U YANONG

ADDRESS: 1844 SOUTH 60TH COURT
CITYISTATE/ZIP: CICERO,IL 60804

PROPERTY: 1844 SOUTH 60TH COURT
CICERO, IL 60804

You are entering into a transaction that wil result in a mortgage/lien/security interest on your home. You have a legal
right under federal law to cancel this transaction, without cost, within THREE BUSINESS DAYS from whichever of the

following events occurs last:

NSN ested eats
92 |20|2002-

1. The date of the transaction, which fs tor

2. The date you recelved your Truth in Lending disclosures; or

3. The dale you received this notice of your right to cancel’
if you cancel the transaction, the mortgagellien/security Interest is also cancelled. Within 20 CALENDAR DAYS after we
receive your notice, we must take the steps necessary to reflect the fact that the mortgage/lier/security Interest on your
home has been cancelled, and we must return to you any money or property you have given to us or anyone else in
connection with this transaction.

You may keep any money or property we have given you until we have done the things mentioned above, but you must
then offer to return the money or property. if K is impractical or unfair for you to return the property you must offer its
reasonable value. You may offer to return the property at your home or ai the location of the property. Money must be
tetumed fo the address below, If we do nal take possession of the money or properly within 20 CALENDAR DAYS of your

offer, you may keep il without further obligation.

HOW TO CANCEL

If you decide to cancel this transaction, you may do so by notifying us in wriling, at:
Ameriquest Mortgage Company ATIN: FUNDING
1100 Town and Country Rd, Suite 200 PHONE: (714) 541-9960"
Orange, California 92868 FAX: (714) 245-0857

You may use any written staternent that is signed and dated by you and states your Intention to cancel, or you may use
this notice by dating and signing below. Keep one copy of this notice because it contains important information about

your rights..

If you cancel by mail or telegram, you must
send the notice no later than MIDNIGHT of

O2,23|/ 2002

(or MIDNIGHT of the THIRD BUSINESS DAY following the latest of the three events listed above). ff you send or deliver
your written notice to cancel seme other way, it must be delivered to the above address no later than that time.

{WISH TO CANCEL

SIGNATURE DATE

The undersigned each acknowledge receip! of two copies of this NOTICE OF RIGHT TO CANCEL and one copy of the
Federal Truth in Lending Disclosure Stalement, all given by fender in compliance with Truth in Lending Simplification and

Reform Act of 1980 (Public Law 96-221).

Each borrower In this transaction has the right to cancel. The exercise of thls right by C, borrower shall be effective to ur wers.

Od by Jor nee
ee UYANONG Date  BORROWEROWNER Co Ric A M( —ThS
BORROWER/OWNER Date BORROWER/OWNER ° Date

sores nee om) BORROWER COPY
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EXHIBIT E
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ONE WEEK CANCELLATION PERIOD

Loan Number: 0034678318 - 7304 Borrower(s): GUILLERMINA U YANONG

Date: February 20, 2002

You have the right under Federat or state law to three (3) business days during which you can
cancel your foan for any reason. This right is described In the Notice of Right to Cancel you have
received today.
Ameriquest Marigage Company believes that a loan secured by your home is one of the most important
financial decisions you can make. To give you more time to study your foan documents, obtain
independent advice and/or shop for a loan that you belleve suits you better, we provide you with
one-week (which includes the day you sign the loan documents) ta cancel the Ioan with no cast to
you. No money will be disbursed before 10:00 a.m. on the first business day after this period expires.
Business days are Monday through Friday, excluding federal legat holidays.

For example, if your loan clases on a Tuesday, you could cancel from that Tuesday through midnight of
the following Monday.

If you want fo cancel, you must do so in writing and we must receive your request before midnight on the
day the cancellation period ends. You may cancel by signing and dating in the request to cancel box
below or by using any other writfen statement that provides your loan number and stafes your desire to
cancel your loan. The written statement must be signed and dated by any one borrower. Your request
must be delivered to:

Ameriquest Mortgage Company

1100 Town and Country Rd, Suite 200 Orange, Califomia 92868

ATTN: Funding Depariment
Phone: (714) 541-8960 —~
Fax: (714) 245-0887

When you sign below, it means that you have received and read a copy of this notice and you understand
what fs printed above. -

We hereby acknowledge recelving a copy of this notice on the date signed below.

Chen _ Lf, Lf iL.
Borrower/Owner GUILVERMINA U YANONG Date
Ge Sete 2/20/0>—

BoroweVOwner ERIC SMITH Date
Borrower/Owner Date
Borrower/Owner Date

REQUEST TO CANCEL

We want to cancel loan #

Barrower/Owner Signature Date
Esp (10704) RORROWER CNnDVv

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Z

ONE WEEK CANCELLATION PERIOD

Loan Number: 0034678318 - 7301 Borrower(s): GUILLERMINA U YANONG

Date: Febniary 20, 2002

You have the right under Federal or state law to three (3) business days during which you can
cancel your !oan fer any reason. This right Is described in the Notice of Right fo Cancel you have

recelved today.

Ameriquest Morigage Company believes that a loan secured by your home fs one of the most Important
financial dacisions you can make. To give you more” time to study your loan documents, obtain
independent advice and/or shop for a loan that you believe sults you better, we provide you with
one-week (which Includes the day you sign the loan documents) to cancel the loan with no cost to
you. No money will be disbursed before 10:00 a.m. on the first business day after this period expires.
Business days are Monday through Friday, excluding federal legal holidays.

For example, if your loan closes on a Tuesday, you could cancel from that Tuesday through midnight of
the following Monday.

If you want to cancel, you must do so In writing and we must recelve your request before midnight on the
day the cancellation period ends. You may cancel by signing and dating in the request to cancel box
below or by using any other written statement that provides your loan number and states your desire to
cancel your loan. The written statement must be signed and dated by any one borrower Your request
must be delivered to:

Ameriquest Morigage Company

1100 Town and Country Rd, Suite 200 Orange, California 92868

ATTN: Funding Department
Phone: (714) 547-9960
Fax: (714) 245-0857

When you sign below, it means that you have received and read a copy of this notice and you understand
what fs printed above.

We hereby acknowledga receiving a copy of this notice on the date signed below.

afa/er
Borrower/OQwner Cu Date fof
sd. 9A x0 / O2~
Borrower/Owner £R1C SMITH Date ‘ f
Borrower/Owner Date
Borrower/Owner Date
REQUEST TO CANCEL
ifWe want to cancel loan #
Borrower/Owner Signature Date

152 {1DIO3} BORROWER COPY x
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| .

ONE WEEK CANCELLATION PERIOD

Loan Number: 0034678318 - 730% Borrower(s): GUILLERMINA U YANONG

Date: February 20, 2002

You have the right under Federal or state law to thrte (3) business days during which you can
cancel your loan for any reason. This right Is described in the Notice of Right fo Cancel you have

received today.

Ameriquest Morigage Company belleves that a loan secured by your home is one of the most important
financial decislons you can make. To give you more time to study your loan documents, obtain
Independent advice and/or shop for a joan that you believe suits you better, we provide you with
one-week (which Includes the day you sign the loan dacuments} to cance! the toan with no cost to
you. No meney will be disbursed before 40:00 a.m. on the first business day after this period expires.
Business days are Monday through Friday, excluding federal legal holidays.

For example, if your oan closes on @ Tuesday, you could cancel from that Tuesday through midnight of
the following Monday.

if you want fo cancel, you must do so in writing and we must receive your request before midnight on the
day the cancellation period ends. You may cancel by signing and dating in the request fo cancel box
below or by using any other written statement that provides your foan number and states your desire to
cancel your loan. ‘The written staternent must be signed and dated by any one borrower. Your request
must be delivered to: ‘
Ameriquest Morigage Company
4100 Town and Country Rd, Suite 200 Orange, Califomla 92868

ATTN: Funding Department
Phone: (714) 541-9960
Fax (714) 245-0887

When you sign below, it means that you have recelved and read a copy of this notice and you understand
what is printed above.

Ie hereby acknowledge recelving a copy of this notice on the date signed belaw.

Ate A fds /: ¢2—
Borrower/Owner GU we py ONG Date ~ ;
whe A 7h Qf o of, 0 2-
Borowerfowner ERIC SMITH Date ’ ‘
Barrower/Owner Date
Borrower/Owner Date

- REQUEST TO-CANCEL

We want to cancel foan #

Borrower/Owner Signature Date

10 8000) LENDER COPY

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EXHIBIT F
Case: 1:05-cv-07097 Document #: 84-22 Filed: 03/16/06 Page 41 of 41 PagelD #:2027

Sett mel art val No. 2502-0491
Case 1:05-9udiis eater LRegument CGA TrESEMAEAT0/2005 Page Sarai aur
Ni Address af B N: 6 Address of Lend:
ae Acres sof Boone D EDUC TES P OINTS Ameniquest Morigage Company
Iv 200 4445 W Harmison St. #334

1844 SOUTH SOTH COURT —_CICERO,IL goa04 Hillside, IL 60162

Property Location: {if different fram above) SetUement Agent
1844 SOUTH 60TH COURT. CICERO. IL 60804 Pics cl Setomant

L. Settlernent Charpes :

890. Items Payable in Connection with Loan Lean Number: etilement Gate:
801. Loanorighationies % in 0034678318 - 7301

802, Lnandiscoun! 3.880 % to Ameriquest Marigage Company

M. Disbursement to Others

$5.266,79

804, Appraisal fea lo THE EAGLE APPRAISAL GROUP

$325,00

804. Credit report to

1501.
BANK ONE

$9,932.0t

80S, Inspection fes fo

BO6,

1502,
BANK ONE

$1,047.

‘807.

868. Yield Spread Premium to

1593,
BANK ONE

S17,547,9;

80a,

4504
FUSA BANK

£16. Tex Related Service Fea to Armeriquest Mortgage

$70,060

$6,979,0(

811. Flood Search Fee to Amariquent Mortgage Comp

$16.00 J isos.
FUSA NA

812. Lenders F ing Fee to Ameriq Mortgag

$525.00

$14,742.

aia Admin ta {guest Martgage Cr

$239.60

3 (3 12 13 |2 |3

1506.
WASHMUHOM

814. Doc. Prop. Fes to

$98,467.44

815, Credit Report Fee to

4807.

816, OdginalicnFee  % to

[17.4 lh Fes to Ameriquest ge C

360.00 | 1508

}e18, Underwriting Fee to

819. Service Provider Fee to

1809.

B20. Processing Fee to

821. Undarwiiling Fee to

1510.

822. isal Fee to

151i

$00. items Required by Lender to be Pald in Advance

604, interest from G2/27/2002 10 03/07/2002 @ $30.59 per day

$64,78

902 & premium for manths to

1872,

0a, Hazard t dum to

904. Flond ¢ to

1513

4000. Reserves Deposited with Lender

400%, Hazard t 32_ months @ $ 48.08 per month

$588.96 $ 1534.

1002. K b manths @$ per snonth

1003. City property taxes months @$ per month

1518

1004. County prop, taxes 2 months @$ 283.47 per month

5586.94

4005. Annual pssess. months @$ — permonth

1520. TOTAL OISSURSED (enter on [ine 7603}

1006, cod months @5  permonth

$146,715 44

107. months @ $ por month

1008.

Nie0, Tie Charges

1101, Setliement er dosing {ce to

1102, Abstract or tle search to °

1103. Tite examination ta NATIONS TITLE AGENCY OF

$150.00

1104, Tite Incurance binder ta

Total Wire: = §152.284 53

7105, Document preparaden to

4106, Notary fees to

1107, Atiomey’s fers lo

1108, Tile insurance to NATIONS TITLE AGENCY OF

$600.06

1408, Lenders coverage §

1110, Owner's coverege 3

1114, SetiementDisbursement fee te

1112. Escrow Fee to

A200. Government Recording and Transfer Charges

1201. Recording fees

$50.00

4202. Clly/county tax/stamps

N. NET SETTLEMENT

1203, State tay stamps

1204, State specific fee

1606 Loan Amount

1205. State cpeeitia foe

164,100,00

1300. Additional Settlement Charges

7601. Plus CasfvCheck from Borrower

1201. Demand to

1302, Pest inspection to

1602. Minus Total Setiement Charpes

1308, Survey Fee

line 14090)

$9,940.47

$304.

4803 Minus Total Disbursements to Others

1305, Reconveyance Fee to

line 1520

$448,716.44

1305.

4604, Equats Disbursements lo Borrower

1307.

(afer expiration of any applicable rescission!

1308, Courter Fee

period)

1400. Total Settlernent Charges (enter on fine 1602)

59,940.47

52443 12

Barrewer{s) Signature(sy

x

Approved for Funding By: Approved:

Branch: Hltside, 160762
